                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

 UNITED STATES OF AMERICA,

                               Plaintiff,

        v.                                       Case No. 17-00330-01-CR-W-SRB

 PRESTON L. GILLAM,

                               Defendant.

              GOVERNMENT’S RESPONSE IN OPPOSITION TO
        DEFENDANT’S SECOND PRO SE MOTION TO REDUCE SENTENCE
      PURSUANT TO 18 U.S.C. § 3582(c)(1)(A)(i) – COMPASSIONATE RELEASE

       The United States of America, through Teresa A. Moore, Acting United States Attorney

for the Western District of Missouri, and the undersigned attorney, provides the following response

in opposition to Defendant Preston L. Gillham’s second motion for compassionate release. This

Court previously denied Defendant’s first motion for compassionate release due to Defendant

presenting “no extraordinary and compelling reason to modify [his] sentence.” See Doc. 57.

       Defendant again seeks to have his 96-month sentence for Possession with Intent to

Distribute Methamphetamine, under 21 U.S.C. §§ 841(a)(1) and (b)(1)(A), reduced to time served.

See Doc. 54. Defendant argues extraordinary and compelling reasons exist because of his various

medical conditions.     See generally Doc. 62.       Because Defendant has not demonstrated

extraordinary and compelling reasons justifying a reduction, the Government opposes the request

and asks the Court to deny Defendant’s motion.

I.     Procedural History

       On October 26, 2017, Defendant was charged by indictment with one count of possessing

with intent to distribute approximately 895 grams of a mixture or substance containing




         Case 4:17-cr-00330-SRB Document 63 Filed 05/10/21 Page 1 of 13
methamphetamine. See Doc. 10. On March 21, 2018, Defendant pleaded guilty to the Indictment.

See Doc. 35. On June 5, 2019, Defendant was sentenced to 96-months’ imprisonment. See Docs.

51 & 52. Based on the information made available on the Bureau of Prisons Inmate Locator, the

defendant’s release date is July 26, 2024. See https://www.bop.gov/inmateloc/.

       On May 29, 2020, Defendant filed his first motion for compassionate release and asserted

that the current situation regarding the coronavirus (COVID-19) placed the defendant at risk if he

remained in custody. See generally Doc. 54. The Government responded in opposition. See

generally Doc. 55. This Court denied his Motion based on Defendant presenting “no extraordinary

and compelling reason to modify [his] sentence.” See Doc. 57. On April 26, 2021, Defendant

filed his second motion for compassionate release and asserts that he should be released. See Doc.

62. For the same reasons before, Defendant’s motion should be denied.

II.    First Step Act

       The First Step Act, effective December 21, 2018, provides inmates the ability to file a

motion for compassionate release, an ability previously only vested in the BOP. The statute, 18

U.S.C. § 3582(c)(1)(A), originally permitted judicial relief only upon a motion by the Director of

the BOP. Section 603(b) of the First Step Act now permits courts to act “upon motion of the

Director of the Bureau of Prisons, or upon motion of the defendant after the defendant has fully

exhausted all administrative rights to appeal a failure of the Bureau of Prisons to bring a motion

on the defendant’s behalf or the lapse of 30 days from the receipt of such a request by the warden

of the defendant’s facility, whichever is earlier.”

       Under 18 U.S.C. § 3582(c) a court may not modify a term of imprisonment once it has

been imposed except that, under subsection § 3582(c)(1)(A), a court may reduce a term of

imprisonment upon finding “extraordinary and compelling reasons,” if such reduction is consistent

                                                  2


         Case 4:17-cr-00330-SRB Document 63 Filed 05/10/21 Page 2 of 13
with applicable policy statements of the Sentencing Commission, after considering the factors set

forth in 18 U.S.C. § 3553(a), and after determining the defendant is not a danger to the community

as provided in 18 U.S.C. § 3142(g). (U.S.S.G. § 1B1.13(2).) The pertinent policy statement,

U.S.S.G. § 1B1.13, defines specific medical, age, and family circumstances as possibly justifying

a sentencing reduction under this statute, and further authorizes a sentencing reduction based on

an extraordinary and compelling circumstance identified by the BOP. (§1B1.13 Commentary

n.1(D).)

         The Government acknowledges that Courts are divided on the applicability of U.S.S.G.

§ 1B1.13 when a motion for compassionate release is brought directly by an inmate under the First

Step Act, rather than a motion by the Director of the BOP. This division is, at least in part, because

the text of § 1B1.13 is tailored to motions specifically brought by the BOP, and the Guideline has

not been updated or revised since 18 U.S.C. § 3582(c) was amended to allow inmates to bring

motions on their own behalf. Compare United States v. Warren, 456 F.Supp.3d 1083, 1084-86

(D. Minn. Jan. 1, 2020), with United States v. Jones, 2020 WL 6817488, at *6-9 (6th Cir. Nov. 20,

2020) (“We now join the majority of district courts and the Second Circuit in holding that the

passage of the First Step Act rendered § 1B1.13 ‘inapplicable’ to cases where an imprisoned

person files a motion for compassionate release.”) (citing United States v. Brooker, 976 F.3d 228,

234 (2d Cir. 2020). See also United States v. Gunn, 2020 WL 6813995, at *1-2 (7th Cir. Nov. 20,

2020).

         The Eighth Circuit has not yet decided this issue. See United States v. Rodd, 966 F.3d 740,

747 (8th Cir. 2020) (“We need not determine whether the district court erred in adhering to the

policy statements in § 1B1.13.”). However, while it remains undecided within the Eighth Circuit

whether § 1B1.13 applies to motions for compassionate release brought directly by an inmate, and

                                                  3


           Case 4:17-cr-00330-SRB Document 63 Filed 05/10/21 Page 3 of 13
therefore whether Courts consider whether the defendant remains a danger to the community,

§ 3582 still requires the Court to consider the § 3553(a) factors, one of which is “to protect the

public from further crimes of the defendant.” 18 U.S.C. § 3553(a)(2)(C). Further, the Government

submits even if not found to be applicable, § 1B1.13 is at the very least instructive on the pertinent

issues of a motion for compassionate release. See United States v. Pelichet, 2020 WL 6825699, at

*5 (D.S.D. Nov. 20, 2020) (“With the understanding that it is not limited by Guideline § 1B1.13,

the Court will look to the Sentencing Commission’s commentary notes for guidance.” (citing

Rodd, 966 F.3d at 745 (noting that the district court first analyzed the prisoner’s motion under the

commentary to § 1B1.13 to determine whether he satisfied the “extraordinary and compelling”

reasons for compassionate release)); United States v. Gashe, 2020 WL 6276140 at *3 (N. D. Iowa

Oct. 26, 2020) (“I agree with those courts that have found that although [§ 1B1.13] provides

helpful guidance on what constitutes extraordinary and compelling reasons, it is not conclusive

given the FSA’s changes.”).

       As the proponent of a motion, the inmate bears the burden of proving both that they have

satisfied the procedural prerequisites for judicial review—i.e., that they have “exhausted all

administrative rights to appeal a failure of the [BOP] to bring a motion on [his] behalf” or that 30

days have lapsed “from the receipt of such a request by the warden”—and that “extraordinary and

compelling reasons” exist to support the motion. 18 U.S.C. § 3582(c)(1)(A); see United States v.

Butler, 970 F.2d 1017, 1026 (2d Cir. 1992) (“A party with an affirmative goal and presumptive

access to proof on a given issue normally has the burden of proof as to that issue.”); cf.

United States v. Hamilton, 715 F.3d 328, 337 (11th Cir. 2013) (“[A] defendant, as the § 3582(c)(2)




                                                  4


         Case 4:17-cr-00330-SRB Document 63 Filed 05/10/21 Page 4 of 13
movant, bears the burden of establishing that a retroactive amendment has actually lowered his

guidelines range in his case.”). 1

III.    BOP Response to the Coronavirus Pandemic2

        The BOP has taken significant measures to protect the health of all inmates. The BOP

began planning for potential coronavirus transmissions in January 2020. At that time, the agency

established a working group to develop policies in consultation with subject matter experts at the

Centers for Disease Control (CDC), and in accordance with guidance from the World Health

Organization (WHO). The BOP has implemented preventive and mitigation measures including:

        •         Modified Operations: The BOP has implemented modified operations to
                  maximize social distancing in all facilities. Inmates are limited in their movements
                  to prevent congregate gathering. Essential inmate work details, such as Food
                  Service, continue to operate with appropriate screening.

        •         Screening of Inmates and Staff: All newly-arriving BOP inmates are screened
                  by medical staff for COVID-19. The screening includes a symptom screen, a
                  temperature check, and an approved viral PCR test. Inmates who arrive
                  symptomatic and/or test positive are placed in medical isolation. Inmates who
                  arrive asymptomatic and test negative are placed in quarantine for at least 14 days,
                  and are tested before entering general population. Enhanced health screening of
                  staff, contractors, and other visitors is performed at all BOP locations.

        •         Social Visits: Until recently all social visits were suspended. In accordance with
                  specific guidance designed to mitigate risks, the BOP is now reinstating social
                  visits, where possible to maintain the safety of all staff, inmates, and visitors. All
                  visits are non-contact and social distancing between inmates and visitors is
                  enforced. Visitors are symptom screened and temperature checked, and inmates
                  and visitors must wear appropriate face coverings, in addition to taking other
                  hygiene precautions. Tours continue to be suspended.




        1
            The United States concedes Defendant has met the standards for exhaustion in his case.
        2
        Though Defendant does not directly contend the Coronavirus pandemic plays a role in his
motion for release, the efforts of BOP in this regard are somewhat relevant to his other medical
circumstances.
                                                 5


            Case 4:17-cr-00330-SRB Document 63 Filed 05/10/21 Page 5 of 13
       •       Legal Visits: Telephone calls and/or video conferencing with outside counsel is
               accommodated to the extent possible. In-person legal visits are accommodated
               upon request, based on local resources, and face coverings are required.

       In addition, the BOP has begun administering vaccines to inmates and staff and is

committed to doing so as quickly as possible.         To date, nearly 127,000 doses have been

administered. Further details regarding the BOP’s COVID-19 action plan and efforts, and a daily

updated resource page are available at: https://www.bop.gov/coronavirus/index.jsp. 3

       Taken together, these measures are designed to mitigate the risks of COVID-19

transmission in BOP institutions. BOP professionals continue to monitor this situation and adjust

practices as necessary to maintain the safety of prison staff and inmates while also fulfilling its

mandate of incarcerating all persons sentenced or detained based on judicial orders.

       Unfortunately, inmates have become ill, and there have been COVID-19 outbreaks at

several institutions. Notwithstanding the current pandemic crisis, the BOP must carry out its

charge to incarcerate sentenced criminals to protect the public. It must consider the effect of a

mass release on the safety and health of both the inmate population and the citizenry. It must

marshal its resources to care for inmates in the most efficient and beneficial manner possible. It

must assess release plans, which are essential to ensure that a defendant has a safe place to live

and access to health care in these difficult times. And it must consider other factors, including the

availability of transportation for inmates, and of supervision of inmates once released.

       In addition, the Attorney General has directed that the BOP prioritize transferring inmates

to home confinement in appropriate circumstances when those inmates are vulnerable to




       3
          According to the resource page, due to the rapidly evolving nature of this public health
crisis, the BOP will update the dashboard daily at 3:00 p.m., based on the most recently available
data from across the agency as reported by the BOP's Office of Occupational Health and Safety.
                                                6


           Case 4:17-cr-00330-SRB Document 63 Filed 05/10/21 Page 6 of 13
COVID- 19 based on CDC risk factors, and the BOP is devoting all available resources to

executing that directive. On March 26, 2020, the Attorney General directed the Director of the

BOP, upon considering the totality of the circumstances concerning every inmate, to prioritize the

use of statutory authority to place prisoners in home confinement. Section 12003(b)(2) of the

Coronavirus Aid, Relief, and Economic Security Act (“CARES Act”), enacted on March 27, 2020,

permits the BOP, if the Attorney General finds that emergency conditions will materially affect

the functioning of the Bureau of Prisons, 4 to “lengthen the maximum amount of time for which

the Director is authorized to place a prisoner in home confinement under the first sentence of

section 3624(c)(2) of title 18, United States Code, as the Director determines appropriate.” Pub.

L. No. 116-136, § 12003(b)(2), 134 Stat. 281, 516 (to be codified at 18 U.S.C. § 3621 note). To

date,   the    BOP   has   placed   nearly   24,000    inmates   on    home    confinement.    See

https://www.bop.gov/coronavirus/.

        In this case, even absent any concern related to the pandemic, Defendant’s multiple medical

conditions do not place him in a high-risk category that would establish an extraordinary or

compelling reason for a sentence reduction. See Doc. 62 at 6-11 (Defendant’s discussion of 10

medical factors).

IV.     The Defendant Has Not Identified Extraordinary and Compelling Reasons

        To be entitled to compassionate release, the Court must find that the defendant has

demonstrated that “extraordinary and compelling reasons warrant such a reduction,” that “such a

reduction is consistent with applicable policy statements issued by the Sentencing Commission,”

and only “after considering the factors set forth in section 3553(a).” 18 U.S.C. 3582(c)(1)(A)(i).



        4
        On April 3, 2020, the Attorney General gave the Director of the BOP the authority to
exercise this discretion.
                                             7


            Case 4:17-cr-00330-SRB Document 63 Filed 05/10/21 Page 7 of 13
In United States v. Jones, the Sixth Circuit provided a three-step test a district court should follow

when reviewing motions for compassionate release. 2020 WL 6817488, at *6 (6th Cir. Nov. 20,

2020). “At step one, a court must find whether extraordinary and compelling reasons warrant a

sentence reduction. At step two, a court must find whether such a reduction is consistent with

applicable policy statements issued by the Sentencing Commission … At step three,

§ 3582(c)(1)(A) instructs a court to consider any applicable § 3553(a) factors and determine

whether, in its discretion, the reduction authorized by steps one and two is warranted in whole or

in part under the particular circumstances of the case.” Id (internal quotations and citations

omitted).

       The Sentencing Commission’s pertinent policy statement related to extraordinary or

compelling reasons appears at U.S.S.G. § 1B1.13. As amended November 1, 2018, the statement

repeats the text of 18 U.S.C. § 3582(c)(1)(A) and adds that the court should reduce the sentence

only if the “defendant is not a danger to the safety of any other person or to the community, as

provided in 18 U.S.C. § 3142(g).” Because the Eighth Circuit has not yet decided the applicability

of § 1B1.13 as it relates to motions brought directly by inmates, the Government argues that it

should still be considered. The BOP promulgated Program Statement 5050.50, amended effective

January 17, 2019, to set forth its own internal criteria for evaluating compassionate release

requests. Courts have frequently upheld the BOP’s discretionary authority in its management

duties over federal prisoners. See Tapia v. United States, 564 U.S. 319, 331 (2011) (“When a court

sentences a federal offender, the BOP has plenary control, subject to statutory constraints, over

[the place of imprisonment and treatment programs].”).

       The Eighth Circuit has not yet decided whether § 1B1.13 applies to motions for

compassionate release brought directly by an inmate. Nonetheless, the Application Notes for

                                                  8


            Case 4:17-cr-00330-SRB Document 63 Filed 05/10/21 Page 8 of 13
§ 1B1.13 are instructive and provide guidance for the Court when determining whether the

defendant has demonstrated an extraordinary and compelling reason for a sentencing reduction.

See United States v. Gunn, 2020 WL 6813995, at *1-2 (7th Cir. Nov. 20, 2020) (“The substantive

aspects of the Sentencing Commission’s analysis in § 1B1.13 and its Application Notes provide a

working definition of ‘extraordinary and compelling reasons’; a judge who strikes off on a

different path risks an appellate holding that judicial discretion has been abused. In this way the

Commission’s analysis can guide discretion without being conclusive.”); United States v. Pelichet,

2020 WL 6825699, at *5 (D.S.D. Nov. 20, 2020) (“With the understanding that it is not limited by

Guideline § 1B1.13, the Court will look to the Sentencing Commission’s commentary notes for

guidance.” (citing Rodd, 966 F.3d at 745 (noting that the district court first analyzed the prisoner’s

motion under the commentary to § 1B1.13 to determine whether he satisfied the “extraordinary

and compelling” reasons for compassionate release)); United States v. Gashe, 2020 WL 6276140

at *3 (N. D. Iowa Oct. 26, 2020) (“I agree with those courts that have found that although

[§ 1B1.13] provides helpful guidance on what constitutes extraordinary and compelling reasons,

it is not conclusive given the FSA’s changes.”)

       A.      Medical Condition of Defendant

               The application notes for U.S.S.G. § 1B1.13 define medical condition of the

       defendant as:

                       Medical Condition of the Defendant.--

                        (i) The defendant is suffering from a terminal illness (i.e., a serious
               and advanced illness with an end of life trajectory). A specific prognosis of
               life expectancy (i.e., a probability of death within a specific time period) is
               not required. Examples include metastatic solid-tumor cancer, amyotrophic
               lateral sclerosis (ALS), end-stage organ disease, and advanced dementia.



                                                  9


         Case 4:17-cr-00330-SRB Document 63 Filed 05/10/21 Page 9 of 13
                       (ii) The defendant is--

                       (I) suffering from a serious physical or medical condition,

                       (II) suffering from a serious functional or cognitive impairment, or

                       (III) experiencing deteriorating physical or mental health because of
               the aging process,

                       that substantially diminishes the ability of the defendant to provide
               self-care within the environment of a correctional facility and from which
               he or she is not expected to recover.

U.S.S.G. § 1B1.13 Application Note 1(A).

       In this case, Defendant alleges multiple medical conditions.          See Doc. 62 at 6-11.

Defendant, however, has made an inadequate showing of extraordinary and compelling

circumstances. There is no evidence that he is unable to provide self-care or perform daily living

activities. Unfortunately, Defendant’s circumstance is not extraordinary in the context that many

individuals across the nation are in the same or similar position as Defendant, and Defendant’s

medical condition remains the same whether he is released. While the Government is attune to

the difficulties facing inmates, this particular instance simply fails to meet the requirements of the

law and policy.

       Defendant has failed to sustain his burden to prove that he meets the requirements for

compassionate release or a reduction of sentence. Defendant does not have a terminal illness/suffer

from any physical or mental condition that substantially diminishes her ability to provide self-care

within the correctional facility, etc. There are no extraordinary and compelling reasons, as those

terms are defined for the purpose of 18 U.S.C. § 3582(c)(1)(A), justifying compassionate release

or any form of sentence reduction in this case.




                                                  10


        Case 4:17-cr-00330-SRB Document 63 Filed 05/10/21 Page 10 of 13
       B.      Family Circumstances

               The application notes for U.S.S.G. § 1B1.13 define family circumstances as:

               Family Circumstances.--

              (i) The death or incapacitation of the caregiver of the defendant's minor child or
       minor children.

              (ii) The incapacitation of the defendant's spouse or registered partner when the
       defendant would be the only available caregiver for the spouse or registered partner.

U.S.S.G. § 1B1.13 Application Note 1(C).

       In this instance, the defendant’s family circumstances, the incapacitation of his mother,

does not meet the existence of a family circumstance that would warrant a reduction in sentence

under 18 U.S.C. § 3582(c), or as set forth in the Commission’s policy statement. While the

Government is attune to the difficulties facing families of inmates, this particular instance simply

fails to meet the requirements of the law and policy. 18 U.S.C. § 3582(c) does not allow a court

to modify a term of imprisonment absent extraordinary and compelling reasons that warrant such

a reduction. The circumstances here do not rise to such a standard, and Defendant’s request does

not meet the requirements for release.

V.     Defendant Remains a Danger to the Community

       This Court may not reduce Defendant’s sentence unless it finds that “the defendant is not

a danger to the safety of any other person or to the community, as provided in 18 U.S.C.

§ 3142(g).” U.S.S.G. § 1B1.13. Defendant is a danger to the community, and should not be

considered for compassionate release.

       Under 18 U.S.C. § 3142(g), the Court must consider four factors in determining whether

the defendant might present a danger: (1) the nature and circumstances of the offense charged;

(2) the weight of the evidence against the defendant; (3) the history and characteristics of the

                                                11


        Case 4:17-cr-00330-SRB Document 63 Filed 05/10/21 Page 11 of 13
defendant, including the defendant’s character, physical and mental condition, family and

community ties, past conduct, history relating to drug or alcohol abuse, criminal history, and record

concerning appearance at court, and (4) the nature and seriousness of the danger to any person or

the community that would be posed by the person’s release. 18 U.S.C. § 3142(g)(1)–(4).

Consideration of these factors—which are not affected by COVID-19—does not allow this Court

to conclude that this defendant is not a danger to the safety of any other person or the community.

Nothing about the COVID-19 pandemic reduces the defendant’s danger to others.

       At the time of his sentencing in this case, Defendant’s criminal history was over 25 years

long. See Doc. 38 (PSR) at §§ 29-37. Including his most recent felony, Defendant has been

convicted of 10 felonies and 6 misdemeanors, including stealing, assault with brass knuckles,

resisting arrest, and multiple drug trafficking felonies – including for possession of

methamphetamine and methamphetamine-precursors. See id.

       Defendant has failed to demonstrate that the § 3142(g) factors the Court considered at the

time of detention or the § 3553(a) factors the Court considered at the time of sentencing have

changed, therefore the Court should deny Defendant’s motion for immediate release.

VI.    Record of Rehabilitation Is Not An Extraordinary and Compelling Reason

       Finally, Defendant asserts he has demonstrated a record of rehabilitation, and the

Government does not dispute that the accomplishments Defendant has made in prison, as listed

and documented in his motion, are laudable. See Doc. 62 at 12. However, rehabilitation of a

defendant is not, by itself, an extraordinary and compelling reason for a reduction of a term of

imprisonment. U.S.S.G. § 1B1.13 Commentary n.3; 28 U.S.C. § 944(t).




                                                 12


        Case 4:17-cr-00330-SRB Document 63 Filed 05/10/21 Page 12 of 13
                                       CONCLUSION

       Based on the foregoing, the Government respectfully requests that Defendant’s motion for

compassionate release be denied.

       Respectfully submitted this 10th day of May, 2021.

                                                   Teresa A. Moore
                                                   Acting United States Attorney

                                            By     /s/Jeffrey Q. McCarther

                                                   Jeffrey Q. McCarther
                                                   Assistant United States Attorney
                                                   Violent Crime & Drug Trafficking Unit
                                                   Charles Evans Whittaker Courthouse
                                                   400 East Ninth Street, Suite 5510
                                                   Kansas City, Missouri 64106
                                                   Telephone: (816) 426-3122


                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was delivered on May 10,
2021, to the CM-ECF system of the United States District Court for the Western District of
Missouri for electronic delivery to all counsel of record.

                             Preston Gillam, Pro Se
                             Reg. No. 32461-044
                             FCI Forrest City Medium
                             Federal Correctional Institution
                             PO Box 3000
                             Forrest City, AR 72336


                                                   /s/Jeffrey Q. McCarther
                                                   Jeffrey Q. McCarther
                                                   Assistant United States Attorney




                                              13


        Case 4:17-cr-00330-SRB Document 63 Filed 05/10/21 Page 13 of 13
